         Case 22-90039 Document 486 Filed in TXSB on 08/02/23 Page 1 of 5




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                                         )
In re:                                                                   ) Chapter 11
                                                                         )
CYPRESS ENVIRONMENTAL PARTNERS, L.P., et al.,1                           ) Case No. 22-90039 (MI)
                                                                         )
         Reorganized Debtors.                                            ) (Jointly Administered)
                                                                         )

                                      CERTIFICATE OF SERVICE

       I, Travis R. Buckingham, depose and say that I am employed by Kurtzman Carson
Consultants LLC (KCC), the claims and noticing agent for the Reorganized Debtors in the above-
captioned case.

        On August 1, 2023, at my direction and under my supervision, employees of KCC caused
the following document to be served via Electronic Mail upon the service list attached hereto as
Exhibit A; and via First Class Mail upon the service list attached hereto as Exhibit B:

        Motion for Entry of a Second Final Decree (I) Closing the Remaining Chapter 11
         Cases and (II) Granting Related Relief [Docket No. 485]

Dated: August 2, 2023

                                                             /s/ Travis R. Buckingham
                                                             Travis R. Buckingham
                                                             KCC
                                                             222 N Pacific Coast Highway, 3rd Floor
                                                             El Segundo, CA 90245
                                                             Tel 310.823.9000



1
     The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
     identification number, include: Cypress Environmental Partners, L.P. (1523); Cypress Municipal Water Services,
     LLC (5974); Cypress Environmental Partners, LLC (7385); Cypress Brown Integrity, LLC (3455); Cypress
     Energy Partners -1804 SWD, LLC (9110); Cypress Energy Partners - Bakken, LLC (9092); Cypress Energy
     Partners - Grassy Butte SWD, LLC (9047); Cypress Energy Partners - Green River SWD, LLC (1534); Cypress
     Energy Partners - Manning SWD, LLC (4247); Cypress Energy Partners - Mork SWD, LLC (0761); Cypress
     Energy Partners - Mountrail SWD, LLC (4977); Cypress Energy Partners - Tioga SWD, LLC (3230); Cypress
     Energy Partners - Williams SWD, LLC (3840); Cypress Environmental - PUC, LLC (8637); Cypress
     Environmental Management - TIR, LLC (5803); Cypress Environmental Management, LLC (4753); Cypress
     Environmental Services, LLC (7770); Tulsa Inspection Resources - PUC, LLC (2514); and Tulsa Inspection
     Resources, LLC (4632). The Reorganized Debtors’ service address for the purposes of these chapter 11 cases is
     5727 South Lewis Avenue, Suite 500, Tulsa, Oklahoma 74105.
Case 22-90039 Document 486 Filed in TXSB on 08/02/23 Page 2 of 5




                       Exhibit A
                    Case 22-90039 Document 486 Filed in TXSB on 08/02/23 Page 3 of 5
                                                                       Exhibit A
                                                                  Master Service List
                                                               Served via Electronic Mail


             Description                           CreditorName                    CreditorNoticeName                         Email
Counsel for Enterprise Products
Operating LLC                            Andrews Myers, P.C.                 T. Josh Judd                    jjudd@andrewsmyers.com
                                                                                                             philvt@argonautpe.com;
The DIP Lender and DIP Agent             APE V Cypress, LLC                  Phil VanTrease, Eric Weeldreyer ericw@argonautpe.com
                                         Buchalter, a Professional
Counsel for Oracle America, Inc.         Corporation                         Shawn M. Christianson            schristianson@buchalter.com
Counsel for James S. Allen III           Chamberlain Hrdlicka                Jarrod B. Martin                 jarrod.martin@chamberlainlaw.com
Counsel for Haines Investments of
Texas, L.P., William B. Haines 2003,
L.P., John T. Phillips Revocable Trust,
Tim Jones, and Charlie Brown            Conner & Winters, LLP                Kiran A. Phansalkar              kphansalkar@cwlaw.com
Counsel to the Prepetition First Lien
Lender and Prepetition First Lien Agent
and PE V Cypress, LLC                   Frederic Dorwart, Lawyers PLLC       Samuel Ory                       sory@fdlaw.com
IRS                                     Internal Revenue Service             Centralized Insolvency Operation Mimi.M.Wong@irscounsel.treas.gov
IRS                                     Internal Revenue Service             Centralized Insolvency Operation Mimi.M.Wong@irscounsel.treas.gov
                                        Law Office of Patricia Williams
Counsel for Plains Marketing, L.P.      Prewitt                              Patricia Williams Prewitt        patti@pprewittlaw.com
                                        Linebarger Goggan Blair &
Counsel for Harris County               Sampson, LLP                         Tara L. Grundemeier              houston_bankruptcy@lgbs.com
                                        McCreary, Veselka, Bragg &
Counsel for Reeves County Tax District Allen, P.C.                           Julie Parsons                    julie.parsons@mvbalaw.com
                                        Securities & Exchange
SEC Regional Office                     Commission                           Fort Worth Regional Office       dfw@sec.gov
United States Securities and Exchange Securities & Exchange
Commission                              Commission                           Jolene M. Wise                   wisej@sec.gov
                                        Securities & Exchange
SEC Headquarters                        Commission                           Secretary of the Treasury        secbankruptcy@sec.gov
Counsel for the Comptroller of Public
Accounts, Revenue Accounting
Division and The Texas Workforce        Texas Attorney General's Office      Callan C. Searcy c/o Sherri K.   bk-csearcy@texasattorneygeneral.gov;
Commission                              Bankruptcy & Collections Division    Simpson                          sherri.simpson@oag.texas.gov
                                                                             c/o TN AG Office, Bankruptcy     steve.butler@ag.tn.gov;
TN Dept of Revenue                       TN Dept of Revenue                  Division Stephen R. Butler       AGBankTexas@ag.tn.gov
United States Attorney Office for the    US Attorney Office, Southern
Southern District of Texas               District of Texas                                                    usatxs.bankruptcy@usdoj.gov
                                         US Trustee for the Southern
Office of the U.S. Trustee for the       District of Texas (Houston          Stephen Statham and Alicia       Stephen.Statham@usdoj.gov;
Southern District of Texas               Division)                           Barcomb                          Alicia.barcomb@usdoj.gov




   In re: Cypress Environmental Partners, L.P., et al.,
   Case No.: 22-90039 (MI)                                              Page 1 of 1
Case 22-90039 Document 486 Filed in TXSB on 08/02/23 Page 4 of 5




                       Exhibit B
                                       Case 22-90039 Document 486 Filed in TXSB on 08/02/23 Page 5 of 5
                                                                               Exhibit B
                                                                          Master Service List
                                                                       Served via First Class Mail

           Description                      CreditorName                CreditorNoticeName              Address1            Address2       City     State      Zip
                                                                    Phil VanTrease, Eric
The DIP Lender and DIP Agent         APE V Cypress, LLC             Weeldreyer                   7030 South Yale Avenue Suite 810      Tulsa        OK      74136
                                                                    Centralized Insolvency
IRS                                  Internal Revenue Service       Operation                    PO Box 7346                           Philadelphia PA      19101-7346
IRS                                  Internal Revenue Service                                    1919 Smith Street                     Houston      TX      77002
                                     Securities & Exchange                                       801 Cherry Street, Suite
SEC Regional Office                  Commission                     Fort Worth Regional Office   1900, Unit 18                         Fort Worth   TX      76102
                                     Securities & Exchange
SEC Headquarters                     Commission                     Secretary of the Treasury    100 F St NE                           Washington DC        20549
United States Attorney Office for    US Attorney Office, Southern
the Southern District of Texas       District of Texas                                           1000 Louisiana             Suite 2300 Houston      TX      77002
                                     US Trustee for the Southern
Office of the U.S. Trustee for the   District of Texas (Houston     Stephen Statham and Alicia
Southern District of Texas           Division)                      Barcomb                      515 Rusk Street            Suite 3516 Houston      TX      77002




  In re: Cypress Environmental Partners, L.P., et al.,
  Case No.: 22-90039 (MI)                                                       Page 1 of 1
